Case:16-00932-ESL11 Doc#:17 Filed:04/19/16 Entered:04/19/16 09:33:19              Desc: Main
                           Document Page 1 of 2



                            IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF PUERTO RICO

        IN RE                                          BANKRUPTCY 16-00032 ESL
                                                       CHAPTER 11
        PEDRO I MARTINEZ SANTANA
                                                       Filed February 9, 2016
        Debtor-In-Possession
                                                       Status 4/19/2016


                            DIP’s REQUEST FOR VOLUNTARY DISMISSAL
       TO THE HONORABLE COURT:
             COMES NOW the debtor through its legal representation who prays:
             1.   Debtor filed his petition under chapter 11 on February 9, 2016. The §341
                  Meeting of Creditors has yet to be heard, having been continued to May 6,
                  2016 at 10:00 a.m.
             2.   Debtor no longer wishes to continue with his chapter 11 bankruptcy. The
                  stress of the proceedings in conjunction with his age have all but drained
                  him of energy or desire to continue his attempt to sell his property which he
                  had hoped would be administered under his prior chapter 7 liquidation but
                  unfortunately after 4 long years under chapter 7, the property was never
                  administered or the mortgage satisfied to USDA.
             3.   Debtor has only one creditor in that of USDA, as per claim #1 filed by BPPR.

             4.   It is in creditors best interest that this debtor voluntarily desist from these
                  proceedings, since the debtor in possession has no strength or desire to
                  reorganize or manage and administer this estate at this time.

             5.   Debtor understands that after notice and a hearing, the bankruptcy court
                  may dismiss a case if doing so would benefit both the creditors and the
                  debtor.

             6.   Debtor herein moves for authorization to desist voluntarily from these
                  proceedings since debtor is at this moment unable, due to lack of energy and


                                                   1
Case:16-00932-ESL11 Doc#:17 Filed:04/19/16 Entered:04/19/16 09:33:19                Desc: Main
                           Document Page 2 of 2



                    desire due most probably to his advanced age, to reorganize and payout the
                    mortgage to his only creditor.

              7.    Debtor prays furthermore, that all pending matters be stayed until creditors
                    are given a notice to oppose such request.

              WHEREFORE debtor respectfully prays that he be allowed to voluntarily dismiss
       these proceedings and that a notice of 14 days for objection be granted by this Court for
       noticing to creditors.

                          NOTICE TO CREDITORS & PARTIES IN INTEREST

              Within fourteen (14) days after service as evidenced by the certification, and an
       additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail,
       any party against whom this paper has been served, or any other party to the action
       who objects to the relief sought herein, shall serve and file an objection or other
       appropriate response to this paper with the Clerk’s office of the U.S. Bankruptcy Court
       for the District of Puerto Rico. If no objection or other response is filed within the time
       allowed herein, the paper will be deemed unopposed and may be granted unless: (I) the
       requested relief is forbidden by law; (ii) the requested relief is against public policy; or
       (iii) in the opinion of the Court, the interest of justice requires otherwise.
              CERTIFY that on this same date this motion has been noticed to all creditors and
       parties     in   interest:   USDA,    through      Jose   Jimenez     Esq    for   BPPR   to
       jfcardonalaw@gmail.com and the U.S. Trustee Counsel Nancy.Pujals@usdoj.gov and to
       debtor, Pedro I Martinez Santana at PO Box 761, Las Piedras 00771.
       DATED: April 19, 2016

                                                  s/L. A. Morales
                                                  LYSSETTE MORALES VIDAL
                                                  URB VILLA BLANCA #76 AQUAMARINA
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